 Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



                                          UNITED STATES DISTRICT COURT                                                             RECEIVED
                                                                              for the
                                                                                                                                     JAN 2 9 2024
                                                          A4i1jt.)LF         District of rdVWE S L-
                                                                                                                                      U.S. District Court
                                                                    F5rEAh/          Division                                       Middle District of TN


                                                                                        Case No.
                                                                                 )                    (to be filled in by the Clerk's Office)
   pfil 7A IV R , PH1 i_ !_ I PS
                               Plaintiff(s)                                      )
 (Write the full name of each plaintiff who is filing this complaint.            j
 If the names of all the plaintiffs cannot fit in the space above,
 please write "see attached" in the space and attach an additional               )
 page with the full list of names)                                               )
                                   -V-

 AAA R i 0.N (OfI&TY SHERfil ffS AEPARrMlYt
  AND 1PREF (--T) OFFICERS X714IV DOES )IV
'jVE1?C- 0M,      1 ff4z Aly i Nl3i yDuA1 CAPACI MS )
        ZL                   Defendants)                           )
  (Write the full name of each defendant who is being sued. If the )
 names of all the defendants cannot fit in the space above, please               )
 write "see attached" in the space and attach an additional page
 with the full list ofnames. Do not include addresses here)



                                   COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                               (Prisoner Complaint)


                                                                             NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




                                                                                                                                            Page 1 of 11

    Case 1:24-cv-00090-DCLC-SKL                                  Document 1             Filed 01/29/24        Page 1 of 11              PageID
                                                                       #: 9
                                                                                                                                                  u
Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)


I.         The Parties to This Complaint

           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                            Name
                            All other names by which
                            you have been known:
                            ID Number
                            Current Institution
                                                                        VA41Kt I of/ t ')(4 1Y Y 1P t-
                            Address                                       IJ~ 41 6"RGE FAALEY PARKS/61}x'
                                                                          wwclhfS'tEp~ I ZAO .         ,7,, 7 3 ? - 9
                                                                                        City                  State              Zip Code

           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
                      listed below are identical to those contained in the above caption. For an individual defendant, include
                      the person's job or title (ifknown) and check whether you are bringing this complaint against them in their
                      individual capacity or official capacity, or both. Attach additional pages if needed.

                      Defendant No. 1
                            Name                                             MARrA11V C-001VU 5#A R ► M               ))W-ARtM,UVf'
                                                                                                  i
                            Job or Title (fknown)                                              /~Fi
                            Shield Number                                   07 f AkI
                            Employer                                        .44AO ei,Q iW    6.1)(1
                            Address                   PS f)Ak %trlVE'V1 RIAWz'CV OZY 04W                              :5 QLW!TMUiKE

                                                                                        City                  State         p      Code

                                                                            0 Individual capacity      ® Official capacity

                     Defendant No. 2
                            Name                                   I; Zrnklh' DOE    RAKE 06A MFR
                            Job or Title (fknown)                       C~Ff~U~Y aLJ LE ®f ~`l C CA
                            Shield Number                             AA       •t      -,tim F
                            Employer                                  A4-A044,, CVt AaX s'N RR Fx3 t plat?tivl f ly 11-
                            Address                               ,S OAK AXE SYNh'IR S L7FWMWr
                                                                           PER          City
                                                                                                         T-W
                                                                                                     737- 4   1
                                                                                                          State                  Zip Code
                                                                               Individual capacity           Official capacity




                                                                                                                                        Page 2 of 11

     Case 1:24-cv-00090-DCLC-SKL                                Document 1                  Filed 01/29/24      Page 2 of 11        PageID
                                                                      #: 10
Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)


                      Defendant No. 3
                            Name                                              TD YAI iDOF       (POLICE OFF16 01)
                                                                  A
                            Job or Title (fknown)                            ffiWuy' S          R90([ O tCM,
                            Shield Number                                   _ ~/) .      , K rlgts j I M F
                            Employer                                                        I
                                                                       -*45 C?/tfS 4VE,MARPAW 'rL/yr/ 5,91M Ej
                            Address                                          DWAR, rM /yIr
                                                                            JAYPERCity                       State            Zip Code

                                                                               Individual capacity   V   Official capacity


                      Defendant No. 4
                            Name
                                                                C             BTU Gatti/ Qnis    1A21 J r F O~FI CER )
                            Job or Title i known
                            Shield Number                                     //fit,    A~ Ms 7-,, A11E
                            Employer
                            Address                                      5
                                                                      --* ©A K AVE
                                                                         j/h-VIPER                       M       ,    3 73 1~ 7
                                                                                       City                  State            Zip Code

                                                                            © Individual capacity    ® Official capacity

H.        Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.         Are you bringing suit against (check all that apply):

                            Federal officials (a Bivens claim)

                            State or local officials (a § 1983 claim)

          B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                     the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

                                   1300 t/ R AYIUWS' AIIf:Off 'TNAT- 7"f1R£K(3) offlCER.S US -FD A - MAMAS0&,
                      _10_1AIiV17F17
                     A RI E AmevrvT a- roper Wjj 1 L C 01v '7#F GROVIV7V RAT rA(-F a)WIV SPREAD I-AU t
                     A/m WwtoiV . ZXCES51 VF VSE vF FORCE ;BRFAfc1N/G c9EEt< ©r 8101s CAE FA ~ 8/fW
                     4AVZ_AWD !1tM . ,0ut Mr- ES s of MAIVY C0"-U n1r10A1Ai_ /S? t S L EAIi IM ©NF_
                     LErr - EyF_ DA1virlGtD —V ~[.Y ._S'rr[c ~E~T r('~if - K ~IED)C #L I~Ttkiv —   NOrv , i~~ .3
          C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                     are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                     officials?




                                                                                                                                    Page 3 of I 1
     Case 1:24-cv-00090-DCLC-SKL                                Document 1             Filed 01/29/24          Page 3 of 11      PageID
                                                                      #: 11
Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)




           D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                      statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                      42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                      of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                      federal law. Attach additional pages if needed.
                       A-AI All f& f-IW&fS -,t)Wt ALL TOWS (~r) CAP t EI-S AC teD t ,1VPFR CO LOP or L/iw
                      VMMI THE Y (~3)-MRrE MAPq/A fV roV/1/rY JON DOE kL.ICE' of-rJ URS REPEADLY
                       /SEAT BRYAN R PPt1..L(PJ W/ML ' 0/V ThE MOUND NEtPd-    SS SPREAD EAGLE FACE
                      to j44)( i3~
                                 ' KJ~/ I Cl~      iN   A►Vp ,lNW J4i'1/y YVHflF l3/ E~i)JiYG i'~~tiSSAt L`y A/3rx~~

III.       Prisoner Status
                                              R/M 6fS11V Ir/5,'`EA1) or AM19VI Arv( ~ ~ hEt=l
                                                   .~E/~.tMF-A/V WJFI-J       .Eyt f4LMOS r
                                                                                                                   ~s~~rµ~
                                                                                                                    P
                                                                                                                    , c.v
                                                                                                                                   r11 L
                                    ~(I Aj1 Rj(14L                                                            1-
           Indicate whether you are a prisoner or other confined person as follows (check all that apply):
          0           Pretrial detainee

          ❑           Civilly committed detainee

                      Immigration detainee

                      Convicted and sentenced state prisoner

                      Convicted and sentenced federal prisoner

                      Other (explain)

IN.      Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.          If the events givingd rise to your claim arose outside an jpstitution, de cribe,where and when they arose.
                     M.r.t                    N                                                        t`i   rMiYf e..,ty'hf'~!




                                 toP~ e+
                                                                     P4eJ 4iL---
         B.          If the events giving rise to your claim arose in an hAtitution, describe where and when they arose.




                                                                                                                           Page 4 of 11
   Case 1:24-cv-00090-DCLC-SKL                                  Document 1     Filed 01/29/24   Page 4 of 11           PageID
                                                                      #: 12
Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



         C.           What date and approximate time did the events giving rise to your claim(s) occur?
                            r_v_X~ma,y 4;09,Fn - J~►~►
                                                                                G7h--------                 -      --------


         D.           What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                      Was anyone else involved? Who else saw what happened?)

                            --~i                               ,c           r           - o~ - m~ -      oa~'3__iA kA

                                                               -t4                                                       cuhu




V.       Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.
            Kati _      I    _   _      I   rl   . 7—
                                                    , -         1               r   r       -   5   ►A




VI.      Relief

        State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
        If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
        the acts alleged. Explain the basis for these claims.




       ~{i~l~k&




                                                                                                                           Page 5 of 11

   Case 1:24-cv-00090-DCLC-SKL                                 Document 1               Filed 01/29/24    Page 5 of 11   PageID
                                                                     #: 13
Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



VII.     Exhaustion of Administrative Remedies Administrative Procedures

         The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that "[n]o action shall be brought
         with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
         in any jail, prison, or other correctional facility until such administrative remedies as are available are
         exhausted."

         Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
         exhausted your administrative remedies.

         A.           Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                              Yes

                     [O/No

                      If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
                      events giving rise to your claim(s).




         B.           Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
                      procedure?

                     ❑        Yes

                     ©        No

                     ❑        Do not know


         C.          Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                     cover some or all of your claims?

                     ❑        Yes
                          i
                     ❑        No

                     ❑        Do not know

                     If yes, which claim(s)?




                                                                                                                           Page 6 of 1 I
   Case 1:24-cv-00090-DCLC-SKL                                 Document 1    Filed 01/29/24     Page 6 of 11         PageID
                                                                     #: 14
                                            k

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



         D.           Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
                      concerning the facts relating to this complaint?

                            Yes

                      ❑     No

                      If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
                      other correctional facility?

                      Wf Yes

                      ❑     No


         E.           If you did file a grievance:

                      1. Where did you file the grievance?




                                                                                A-

                      2. What did you claim in your grievance?




                                                       to , k        vr,         h~.t1r1            r     L    ~w&L n

                     3.     What was the result, if any?




                                                                                                                                                      J

                     4.     What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
                            not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process)




                                                                            B

                                            [ it                                                                                                      Y
                                            r e                                         1    4~.. 0      0 1




                                                                                                               * ~t,            ,
                                                                                                        @;i            ~~               Page 7of II
                                                            `, lY
                                                                                     l`F_,Irir
   Case 1:24-cv-00090-DCLC-SKL                                  Document 1                       Filed 01/29/24        Page 7 of 11   PageID
                                                                      #: 15
Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



                      If you did not file a grievance:

                      1. If there are any reasons why you did not file a grievance, state them here:




                                                 r




                      2.    If you did not file a grievance but you did inform officials of your claim, state who you informed,
                            when and how, and their response, if any:




         G.           Please set forth any additional information that is relevant to the exhaustion of your administrative
                      remedies.




                      (Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
                      administrative remedies)

VIII. Previous Lawsuits

         The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without paying
         the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained in any facility,
         brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
         malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
         danger of serious physical injury." 28 U.S.C. § 1915(g).

         To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?

         ❑     Yes

         ❑    - No


         If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.




                                                                                                                        Page 8 of I 1
   Case 1:24-cv-00090-DCLC-SKL                                  Document 1    Filed 01/29/24    Page 8 of 11        PageID
                                                                      #: 16
Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



         A.           Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                      action?

                      El Yes
                      Ez No
         B.           If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format)

                      1. Parties to the previous lawsuit
                            Plaintiff(s)
                            Defendant(s)

                      2.    Court (iffederal court, name the district; if state court, name the county and State)



                      3. Docket or index number



                      4. Name of Judge assigned to your case,



                      5. Approximate date of filing lawsuit



                      6. Is the case still pending?

                                 Yes

                           ❑     No

                            If no, give the approximate date of disposition.

                     7.     What was the result of the case? (For example: Was the case dismissed? Was jud            entered
                            in your favor? Was the case appealed?)




         C.          Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
                     imprisonment?
                                             N
                                                                                                                        Page 9 of I 1
   Case 1:24-cv-00090-DCLC-SKL                                  Document 1    Filed 01/29/24     Page 9 of 11       PageID
                                                                      #: 17
Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)


                     El Yes
                     ®         No


         D.           If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

                      1. Parties to the previous lawsuit
                            Plaintiff(s)
                            Defendant(s)

                      2. Court (iffederal court, name the district; ifstate court, name the county and State)




                     3. Docket or index number



                     4. Name of Judge assigned to your case



                     5. Approximate date of filing



                     6. Is the case still

                           ❑    Yes

                                 No

                           If no, give the approximate date of disposition

                     7.    What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                           in your favor? Was the case appealed?)




                                                                                                                    Page 10 of 1 I
           Case 1:24-cv-00090-DCLC-SKL                                 Document 1    Filed 01/29/24   Page 10 of 11
                                                                      PageID #: 18
Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



IX.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.           For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.

                      Date of signing:


                      Signature of Plaintiff
                      Printed Name of Plaintiff
                      Prison Identification #                   3771SS
                     Prison Address                             4174 (; F 0 A&, fir';AL,6Y 1-- f?1 MAZ

                                                                             City               State         Zip Code


         B.          For Attorneys

                     Date of signing:


                      Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Address

                                                                             City              State          Zip Code

                     Telephone Number
                     E-mail Address




                                                                                                                         Page I I of 11
           Case 1:24-cv-00090-DCLC-SKL                                 Document 1    Filed 01/29/24      Page 11 of 11
                                                                      PageID #: 19
